   Case:
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       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                MICHAEL PHILIP KAUFMAN,
                   Plaintiff-Cross-Appellant

                               v.

                MICROSOFT CORPORATION,
                    Defendant-Appellant                            May 20 2022
                   ______________________

                      2021-1634, 2021-1691
                     ______________________

       Appeals from the United States District Court for the
    Southern District of New York in No. 1:16-cv-02880-AKH,
    Judge Alvin K. Hellerstein.
                     ______________________

                          JUDGMENT
                     ______________________

    THIS CAUSE having been considered, it is

    ORDERED AND ADJUDGED:

    AFFIRMED IN PART AND REVERSED IN PART

                                     FOR THE COURT

    May 20, 2022                     /s/ Peter R. Marksteiner
       Date                          Peter R. Marksteiner
                                     Clerk of Court
   Case:
Case     21-1634    Document:
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